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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DYNAMIC DATA TECHNOLOGIES, LLC, §
                                 §
               Plaintiff,        §
                                 §
          v.                     §                     Civil Case No. 2:18-cv-466-RWS
                                 §
 GOOGLE LLC AND YOUTUBE, LLC,    §
                                 §
               Defendants.       §
                                 §

        JOINT MOTION TO TRANSFER TO THE DISTRICT OF DELAWARE

       Plaintiff Dynamic Data Technologies, LLC and Defendants Google LLC and YouTube,

LLC (collectively, the “Parties”), jointly and respectfully request that the Court enter an Order

transferring the above-styled action to the District of Delaware. The Parties are in agreement on

the request set forth herein. A proposed order is submitted herewith.

       Dated: July 16, 2019                  Respectfully submitted by:

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